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                        Case 1:21-cv-04755-TCB Document 1-2 Filed 11/17/21 Page 1 of 6  CLERK OF STATE COURT
                                                                                    GWINNETT COUNTY, GEORGIA
                                                                                              21-C-07485-S6
                                                                                         10/15/2021 4:00 PM
                                                                                         TIANA P. GARNER, CLERK




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                                                         COUNTl

                                                             3.

                    On or about October 24, 2019, Plaintiff, KAREN DUBIN, was a paying customer at the TJ

             Maxx store located at 1810 Gumming Highway in Canton, Georgia, and was therefore entitled to be

            treated as an invitee as a matter of law in the State of Georgia as contemplated by Official Code of

            Georgia Annotated Section 51-3-1.

                                                             4.

                    On or about October 24, 2019, Plaintiff, KAREN DUBIN, was walking in the store aisles of

            the subject TJ Maxx store and in between a pair of display racks within the subject store, when, in

            spite of exercising due care for her own safety, she tripped on one of the display stands, that was

            placed very closely to the display stand opposite of it by the agents and employees of TJ Maxx, and

            thus, as Plaintiff KAREN DUBIN attempted to turn around within the narrow aisle, her shoe

            became caught on the display stand legs, and she fell suddenly and forcefiilly to the hard ground,

            directly on both of her knees and her left shoulder, which banged into one of the two display stands

            as she fell to the ground.

                                                             5.

                    On or about October 24,2019, Plaintiff, KAREN DUBIN, in spite of exercising due care for

            her own safety, tripped over the legs of the display stand, which were hidden by the display

            platform above, which was raised approximately just 6-8 inches off of the ground, and thus, the

            display stand legs were not visible to Plaintiff KAREN DUBIN as she walked between the display

            stand aisle, and the display platform, and the display stand legs underneath, presented an extremely

            dangerous unforeseeable hazard to Plaintiff KAREN DUBIN as she walked through the store as an

            invitee of Defendant TJ MAXX.




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                                                                6.

                    On or about October 24, 2019, Defendant JOHN DOE was working within the course and

             scope of his employment with Defendant TJ MAXX, and was in the immediate vicinity of the

            display stands, which constituted a hazardous condition, and which caused Plaintiff KAREN

            DUBIN to fall.

                                                                7.

                    The display stand platforms, and display stand legs underneath, which caused the

            Plaintiffs fall, were located in a heavy traffic area and constituted a hazardous and unsafe

            condition on the premises.

                                                                8.

                    On or about October 24, 2019, Plaintiff, KAREN DUBIN, as a direct result of tripping upon

            the display stand platforms, and display stand legs underneath, that were blocked from view from

            Plaintiff, KAREN DUBIN fell forward awkwardly, thereby violently striking with the full force and

            weight of her body upon both of her knees on the hard floor surface, as well as her left shoulder

            violently crashing into the display stands, thereby suffering immediate and excruciating pain in both

            of her knees and her left shoulder as a result of falling heavily to the ground.

                                                               9.

                    On or about October 24, 2019, as a result of the above-described serious fall. Plaintiff

            KAREN DUBIN suffered multiple serious bodily injuries as a direct result of the negligence of the

            agents and employees of Defendant TJ MAXX.

                                                               10.

                    Plaintiff, KAREN DUBIN, alleges specifically that the aforementioned serious injuries were

            proximately caused by the negligence of the Defendant, TJ MAXX, through its agents and




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             employees, including Defendant JOHN DOE, including the following:

                    (a)      creating a hazardous condition;

                    (b)      failing to keep its premises in a safe condition;

                    (c)      failing to mark, identify or otherwise warn its invitees of a known, dangerous

                             condition in the area of and at the location of the subject incident;

                    (d)      failing to provide adequate maintenance, cleaning, and upkeep of its premises for the

                             safety of its invitees;

                    (e)      failing to provide notice to Plaintiff of a dangerous condition of which Defendant

                             had superior knowledge, in a circumstance where Plaintiff could not ascertain said

                             dangerous condition due to the dangerous condition being obstructed from view by

                             display stands being placed too closely together, and by display platforms being only

                             6-8 inches above the ground and obstructing the view of the display stand legs

                             underneath, by having a lack of warning signage, by having a lack of verbal

                             warnings, etc.;

                   (f)       failing to cure a defect in the aisle walkway area; said dangerous and defective

                             condition, caused as described above, said dangerous condition being the subject

                             area where Plaintiff was injured;

                   (g)      failing to protect Plaintiff, as an invitee, from a danger that was foreseeable to

                            Defendants;

                   (h)      any and all acts of negligence which may be shown at trial.

                                                                 11.

                   By failing to keep the premises safe for its invitees, Defendant THE TJX COMPANIES,

            INC. violated O.C.G.A. § 51-3-1 which requires same. Defendant’s violation of said code section




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             constitutes negligence per se.

                                                              12.

                    As a direct result of said negligence, Plaintiff, KAREN DUBIN, has suffered serious bodily

             injuries for which she has incurred medical expenses as of this date in excess of $26,800.00.

                                                              13.

                    As a direct result of said negligence. Plaintiff, KAREN DUBIN, has endured extreme

             discomfort and inconvenience, and, in addition, has suffered great physical pain and mental anguish.

                                                              14.

                    As a direct result of said negligence, Plaintiff, KAREN DUBIN, will suffer future physical

            pain, discomfort, inconvenience and mental anguish.

                                                              15.

                    As a direct result of said negligence, Plaintiff, KAREN DUBIN, has suffered a permanent

            injury and losses resulting from the permanent injuries to her lower extremities, and is entitled to

            damages for her pain and suffering and loss of capacity to labor, pursuant to O.C.G.A. § 24-14-45.

                                                         COUNT II

                                                             16.

                    Plaintiff, KAREN DUBIN, realleges and incorporates herein by reference the allegations of

            Paragraphs One (1) through Fifteen (15) of COUNT I of this Complaint, as fully as if the same were

            set forth verbatim herein.

                                                             17.

                   Plaintiff, KAREN DUBIN, has made demand of Defendant THE TJX COMPANIES, INC.

            for payment of the above-stated damages, and Defendant has acted in bad faith and has been




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             stubbornly litigious in refusing payment of said damages, thereby entitling Plaintiff to an award of

             attorney’s fees pursuant to O.C.G.A. § 13-6-11.

                    WHEREFORE, Plaintiff, KAREN DUB IN, respectfully prays that:

                    1)        Plaintiff, KAREN DUBIN, have judgment against Defendant, THE TJX

             COMPANIES, INC., in an amount to be determined by the enlightened conscience of a fair and

             impartial jury for medical expenses, past, present and future, for the extensive physical pain and

            mental anguish she has been and will be subjected to, and for pain and suffering and loss of capacity

            to labor pursuant to O.C.G.A. § 24-14-45;

                    2)       Plaintiff, KAREN DUBIN, have judgment against Defendant, JOHN DOE, in an

            amount to be determined by the enlightened conscience of a fair and impartial jury for medical

            expenses, past, present and future, for the extensive physical pain and mental anguish she has been

            and will be subjected to, and for pain and suffering and loss of capacity to labor pursuant to

            O.C.G.A. § 24-14-45;

                    3)       Plaintiff, KAREN DUBIN, have judgment against Defendant, Defendant THE TJX

            COMPANIES, INC., for all available relief pursuant to O.C.G.A. § 13-6-11;

                   4)        Plaintiff be awarded a trial by j ury;

                    5)       Plaintiff have such other relief as the Court deems just and proper under the

            circumstances.

                   Respectfully submitted this        {•Hi-    day o:                   , 2021.


                                                              Steven J. Jackson
                                                              Attorney for Plaintiff
                                                              Georgia Bar No. 3 86510

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